                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )     Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )     Case No. 21-61491
                                                         )     (Jointly Administered)
                          Debtors.                       )
                                                         )     Judge Russ Kendig


          NOTICE OF MOTION OF DEBTORS AND DEBTORS-IN-POSSESSION
            FOR ENTRY OF AN ORDER ESTABLISHING BAR DATES AND
             APPROVING FORM AND MANNER OF NOTICE THEREOF


         PLEASE TAKE NOTICE THAT on December 3, 2021, the debtors and debtors-in-

possession (each a “Debtor” and collectively, the “Debtors”), in the above-captioned Chapter 11

cases, filed the Motion of Debtors and Debtors-in-Possession For Entry of an Order Establishing

Bar Dates and Approving Form and Manner of Notice Thereof (the “Motion”).

         Your rights may be affected. You should read the Motion carefully and discuss it with

your attorney, if you have one in these bankruptcy cases. (If you do not have an attorney, you

may wish to consult one.)

         Pursuant to Local Rule 9013-1(b), if you do not want the Court to grant the relief

requested in the Motion, or if you want the Court to consider your views on the Motion, then on

or before December 17, 2021, you or your attorney must file with the Court a written objection

explaining your position at:


1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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                             United States Bankruptcy Court
                             Office of the Clerk
                             Ralph Regula Federal Building and U.S. Courthouse
                             401 McKinley Avenue, SW
                             Canton, Ohio 44702

You must also serve a copy of your request on the undersigned counsel:

                             Marc B. Merklin
                             Julie K. Zurn
                             Brouse McDowell LPA
                             388 S. Main Street, Suite 500
                             Akron, Ohio 44311

                             Proposed Counsel for the
                             Debtors and Debtors-in-Possession

       Pursuant to Local Rule 9013-1(d), if you or your attorney do not take these steps, the

Court may grant the relief requested without conducting a hearing and without further notice to

you.

Dated: December 3, 2021                      Respectfully submitted,

                                             /s/ Julie K. Zurn
                                             Marc B. Merklin (0018195)
                                             Julie K. Zurn (0066391)
                                             BROUSE McDOWELL, LPA
                                             388 S. Main Street, Suite 500
                                             Akron, Ohio 44311
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                                             Proposed Counsel for the
                                             Debtors and Debtors-in-Possession




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